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                                                                                            U.S. DIsrF~
                                                                                                      ~N ~~~S~oN
 1
 2
     ~f        ~~             ~     ■~       ill
                                               ,
                                                  i
                                                        (Email Address)
                                                                                       ~ ~~:~ ~~
 3                                                     (Address Line 1)                           OF Cq~ ~Fp
                                                                                                            RNIq
                                                                                                             UTY
 4                                                     (Address Line 2)

 5
     ~/~c            ~~~`~               ~             (Phone Number)

 6         ~c~c`t~~                       in Pro Per
     (indicate Plaintiff or Defendant)
 7


 8                                        UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
11                                                                                        a ~ ~ d~ua3-r
                                                                              Case No.: g ~ `~                          ~~
     ~~~ ~                            ~~
12
                           Plaintiff,
13
                vs.                                                           PROOF OF SERVICE BY MAIL
14
               '1l                                          6 ,d
15
16
17
18
19
                           Defendant(s).
20
21
         I,          C'l              G               ~~/'            ,declare as follows:
22                            (name of person serving doc     ents)

23
                     y address is ~~~s-~~~                                         !~~
24
25
                                                                 ~                           ,which is located in the

26
     county where the mailing described below took place.

27
               On             ~          ~~~             ,Iserved the documents) described as:
28                                (date of mailing)


       Revised: March 2017
       Form Prepared by Public Counsel
       D 1011, 1017 Public Counsel. All Rights
       Reserved.
                                                                          1
                                                               Proof of Service
 Case 8:24-cv-01285-JWH-ADS Document 25 Filed 08/02/24 Page 2 of 2 Page ID #:137
        ~c~~~                               ~~~~ d-~s~~
                          (                                                       ~                 ~~~
     ~~~ ~                                                         y
                                        (list tKe name o each document yo are mailing)                    ~
 2   Y~~Lo~_~jw. nit- Da i                               ~ ~                   c v`~ o„r-~ ~i r~~~
 3
 4    _1         v
     l~~~~ Gi~a~C.tY1
                              ~ ~t l~        ~~D/l~ c5~
                                                                                              _r
                                                                                Doffos~'f'rYn 'f~ c N~r~ `~.1/1
 5
 6   Ca~,E u~s.~j
 7

 8
 9
10   on all interested parties in this action by placing a true and correct copy thereof in
11   a sealed envelope, with first-class postage prepaid thereon, and deposited said
12   envelope in the United States mail at or in                                                               ,
                                                                             (city and state of mailing)
13
     addressed to: o
14   C (~         ~j~       ~~                  (name)                                                        (name)
15    7 `~ ~ ~Q~~~ A~f~(address)                                                                              (address)
16      b

17
     ~~(~      J_~~                             (address)                                                     (address)

        v~i                 q~~(address)                                                                      (address)
18

19            I declare under penalty of perjury that the foregoing is true and correct.
20
21
     Executed on        ~ ~~ ~               ~         at
                              (date)                                         (city    d state of signin
22
23                                                      (sign)


24                                                      (print name)
                                                                              G                    ~
25
26
27
28




                                                            2
                                                    Proof of Service
